     Case 3:24-cv-00924-LL-MSB Document 4 Filed 05/30/24 PageID.38 Page 1 of 5



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 8                       UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
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11   ROBERT EMERT,                                  Case No.: 24cv924-LL
12                                 Plaintiff,
                                                    ORDER:
13   v.
                                                    (1)   GRANTING PLAINTIFF’S
14   SAN DIEGO SUPERIOR COURT,
                                                          MOTION TO SEAL REQUEST
15                               Defendant.               FOR A TEMPORARY
                                                          RESTRAINING ORDER,
16
                                                          PRELIMINARY INJUNCTION,
17                                                        AND PERMANENT
                                                          INJUNCTION;
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19                                                  (2)   DENYING PLAINTIFF’S
                                                          MOTION TO SEAL
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                                                          PLAINTIFF’S MOTION TO
21                                                        PROCEED IN FORMA
                                                          PAUPERIS; AND
22
23                                                  (3)   DIRECTING PLAINTIFF TO
                                                          FILE REDACTED VERSION
24
                                                          OF REQUEST FOR A
25                                                        TEMPORARY RESTRAINING
                                                          ORDER, PRELIMINARY
26
                                                          INJUNCTION, AND
27                                                        PERMANENT INJUNCTION
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         Case 3:24-cv-00924-LL-MSB Document 4 Filed 05/30/24 PageID.39 Page 2 of 5



 1           Plaintiff Robert Emert (“Plaintiff”), proceeding pro se, commenced this action on
 2   May 28, 2024. Plaintiff filed a Request for a Temporary Restraining Order, Preliminary
 3   Injunction, and Permanent Injunction1 (“TRO”) and requested the TRO be sealed. The
 4   same day that he filed the TRO, Plaintiff filed a motion to proceed in forma pauperis
 5   (“IFP”) and requested the motion to proceed IFP be sealed. For the reasons discussed
 6   below, the Court GRANTS Plaintiff’s motion to seal the TRO, DENIES Plaintiff’s motion
 7   to seal the motion to proceed IFP, and DIRECTS Plaintiff to file a redacted version of the
 8   TRO.
 9   I.      MOTIONS TO SEAL
10           In the Ninth Circuit, there is a strong presumption in favor of access to court records.
11   Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003) (citation
12   omitted). This provides federal courts with “a measure of accountability and for the public
13   to have confidence in the administration of justice.” Ctr. for Auto Safety v. Chrysler Grp.,
14   LLC, 809 F.3d 1092, 1096 (9th Cir. 2016) (citation omitted). When a party seeks to seal a
15   filing that is more than tangentially related to the underlying merits of a case, the movant
16   must show compelling reasons for overcoming the presumption in favor of public access.
17   Id. at 1101; see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172, 1179–80
18   (9th Cir. 2006). Filings that are unrelated or only tangentially related to the merits may be
19   sealed upon a showing of good cause. See Ctr. for Auto Safety, 809 F.3d at 1097.
20           A.    Motion to Seal the TRO
21           As a threshold matter, the Court finds that the “compelling reasons” standard applies
22   to Plaintiff’s TRO, or complaint. See id. at 1095 n.2 (“Many courts have applied the
23   compelling reasons standard to motions for preliminary injunctions or temporary
24   restraining orders.”); Baldwin v. U.S., 732 F. Supp. 2d 1142, 1145 (D.N. Mar. I. 2010)
25   (applying “compelling reasons” standard to complaints because “the underlying cause of
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       Plaintiff’s Request for a Temporary Restraining Order, Preliminary Injunction, and
28   Permanent Injunction was filed as the complaint in this action.
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      Case 3:24-cv-00924-LL-MSB Document 4 Filed 05/30/24 PageID.40 Page 3 of 5



 1   action . . . arises directly out of the information in the exhibit [to the complaint].”); Williams
 2   & Cochran, LLP v. Quechan Tribe of Fort Yuma Indian Rsrv., 2017 WL 3600417 at *2
 3   (S.D. Cal. Aug. 17, 2017) (“district courts generally conclude that the ‘compelling reasons’
 4   standard applies because the complaint initiates the civil action.”); In re NVIDIA Corp.
 5   Deriv. Litig., 2008 WL 1859067, at *3 (N.D. Cal. Apr. 23, 2008) (applying “compelling
 6   reasons” standard because “when a plaintiff invokes the Court's authority by filing a
 7   complaint, the public has a right to know who is invoking it, and towards what purpose,
 8   and in what manner.”).
 9         Additionally, courts recognize that the need to protect medical privacy has qualified
10   as a “compelling reason,” for sealing records. See, e.g., San Ramon Regional Med. Ctr.,
11   Inc. v. Principal Life Ins. Co., 2011 WL 89931, at *n.1 (N.D. Cal. Jan. 10, 2011) (finding
12   that confidentiality of medical records under the Health Insurance Portability and
13   Accountability Act of 1996 outweighed Kamakana presumption in favor of public access
14   to court records); Wilkins v. Ahern, 2010 WL 3755654, at *4 (N.D. Cal. Sept. 24, 2010).
15         Here, Plaintiff argues that the medical documents submitted in support of his TRO
16   or complaint should be sealed because his “medical information is highly personal and
17   confidential, and its public disclosure would cause unwarranted embarrassment,
18   humiliation, and invasion of privacy.” TRO at 10. Plaintiff has shown compelling reasons
19   for sealing his medical records. Accordingly, the Court grants Plaintiff’s request to seal
20   any portions of the TRO or complaint that are related to medical documents.
21         B.     Motion to Seal the Motion for IFP
22         Next, the Court finds that the “good cause” standard applies to Plaintiff’s motion for
23   IFP as it is unrelated or only tangentially related to the merits. Ctr. for Auto Safety, 809
24   F.3d at 1097; Bahr v. Marin, 2023 WL 3088296, at *1 (S.D. Cal. Mar. 28, 2023). “Courts
25   typically treat IFP applications as matters of public record.” Sai v. ABDI, 2018 WL
26   9781844, at *4 (W.D. Wash. Apr. 23, 2018). “An application to proceed [IFP] is not within
27   the narrow range of matters, such as records of grand jury proceedings, traditionally sealed
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      Case 3:24-cv-00924-LL-MSB Document 4 Filed 05/30/24 PageID.41 Page 4 of 5



 1   because of important policy reasons.” Tater-Alexander v. Amerjan, No., 2008 WL 961234,
 2   at *2 (E.D. Cal. Apr. 4, 2008) (citing Kamakana, 447 F.3d at 1178, 1184–85.
 3          Here, Plaintiff contends that his IFP application should be sealed because his “wife
 4   shows our kids this stuff.” Mot. to Proceed IFP at 2. This is insufficient to demonstrate
 5   good cause for sealing. See, e.g., Bahr, 2023 WL 3088296, at *1 (denying request to seal
 6   IFP application where defendants cited “general privacy concerns and purported
 7   constitutional issues”); Gupta v. Discover Bank, 2021 WL 5045069, at *1 (C.D. Cal. May
 8   14, 2021) (denying request to seal IFP application where plaintiff claimed financial
 9   information was “sensitive information and [he does] not want the public to see it”); Sai,
10   2018 WL 9781844, at *4 (denying motion to seal IFP application where plaintiff “vaguely
11   objects to the possibility of some type of harm, and generally objects to the inclusion of
12   information required by form AO 239 on the public record”). Accordingly, Plaintiff’s
13   motion to seal the motion for IFP is denied.
14   III.   CONCLUSION
15          Based on the foregoing, the Court:
16          1.    GRANTS Plaintiff’s motion to seal the Request for Temporary Restraining
17   Order, Preliminary Injunction, and Permanent Injunction. Plaintiff’s Request for
18   Temporary Restraining Order, Preliminary Injunction, and Permanent Injunction is to be
19   TEMPORARILY SEALED.
20          2.    DIRECTS Plaintiff to file a redacted Request for Temporary Restraining
21   Order, Preliminary Injunction, and Permanent Injunction with redactions over the exhibits
22   he states are privileged medical information by June 20, 2024. If Plaintiff does not file a
23   redacted Request for Temporary Restraining Order, Preliminary Injunction, and Permanent
24   Injunction by June 20, 2024, the Court of Clerk is directed to lift the seal on these
25   documents.
26          3.    DENIES Plaintiff’s motion to seal Plaintiff’s motion to proceed in forma
27   pauperis.
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      Case 3:24-cv-00924-LL-MSB Document 4 Filed 05/30/24 PageID.42 Page 5 of 5



 1         4.     DIRECTS the Clerk of Court to file Plaintiff’s motion to proceed in forma
 2   pauperis on the docket of the instant case.
 3         IT IS SO ORDERED.
 4   Dated: May 30, 2024
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